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                                  Website: www.ca3.uscourts.gov




                                        July 8, 2025
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Philip N. Yannella, Esq.
Michael L. Zuckerman, Esq.

RE: Atlas Data Privacy Corp, et al v. We Inform, LLC, et al.
Case Number: 25-1555, et al.
District Court Case Number: 1:24-cv-04037

Dear Counsel:

At the direction of the Court, counsel are directed to file a transcript of oral argument by
Tuesday, July 22, 2025 in the above-entitled case. Liaison counsel should immediately advise
the Clerk’s Office by of the court reporter or agency handling the transcription of oral argument.
The parties shall divide the cost of the preparation of the transcript.

Please find attached a Selection of Court Reporters and a copy of the “Procedures for Filing a
Transcript of Oral Argument”. If you have any questions, please contact me.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By: Patrick
Calendar Clerk
267-299-4932
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                           Recommended Court Reporter Contacts:

Veritext
www.veritext.com
One Liberty Place, Suite 5150
Philadelphia, PA 19128
888-777-6690 – Scheduling
215-241-1000 – Direct

Kate Valiante
(215) 446-8851
kvaliante@veritext.com
cs-midatlantic@veritext.com
(please email both)

Writer’s Cramp Inc.
www.wtrscramp.com
1027 Betty Lane
Ewing, NJ 08628
Lewis Parham
(609) 588-8043
wtrscramp@verizon.net

Transcripts Plus, Inc.
435 Riverview Circle
New Hope, PA 18938
(215) 862-1115
Karen Hartmann, CET
CourtTranscripts@aol.com

US Legal Support
www.USLegalSupport.com
1818 Market Street, Suite 1400
Philadelphia, PA 19103
(215) 985-2400
Attn: Yvette Samuel
Ysamuel@uslegalsupport.com
NEClientSolutions@uslegalsupport.com

Trustpoint.One
www.courtreporting.one
1029 Vermont Ave NW, 10th Floor
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                                       Website: www.ca3.uscourts.gov




                                            July 8, 2025

      PROCEDURES FOR FILING A TRANSCRIPT OF ORAL ARGUMENT


When the Court directs counsel to prepare a transcript of oral argument in a case(s), the parties
shall designate one attorney to be liaison counsel for the purpose of coordinating the production
of the transcript. Liaison counsel shall contact Patrick McCauley, Jr., (267) 299-4932 of the
Calendar Unit of the Third Circuit Clerk’s Office (Room 21400) after argument to obtain the
necessary information regarding the filing of the transcript of oral argument.

Liaison counsel shall contract a court reporting service to make arrangements for the
transcription of the oral argument. Then the court reporter shall contact the above designated
Calendar Clerk in order to: (1) make an appointment to transcribe the argument in the Clerk’s
Office at 601 Market Street, Room 21400, Philadelphia, PA; or (2) request an audio cassette
copy of the oral argument to transcribe the argument.

After the transcript is completed, the court reporter shall provide the transcript to all counsel in
the case. Liaison counsel shall file one (1) original transcript electronically through CM/ECF
and (3) copies of the transcript with the Clerk’s Office, including the court reporter’s
certification and a certification of accuracy from liaison counsel on behalf of all parties. If
corrections are necessary to the transcript, liaison counsel shall coordinate with the court reporter
corrections requested by all counsel, and the final corrected version of the transcript shall be filed
by liaison counsel. Corrections should be given to liaison counsel within three (3) days of
receipt of the transcript. Liaison counsel shall file the transcript with the Clerk’s Office no later
than fourteen (14) days after oral argument unless the Court directed a specific deadline.

Unless the Court directed otherwise, the parties shall divide the cost of the preparation of
the transcript.
